                   Case 3:95-cr-00160-PG                 Document 1901              Filed 04/10/06            Page 1 of 4
sAO 245D      (Rev. l2l03) Judgmentin a        Casefor Revocations                                      (NOTE: IdentifyChangewith Asterisks(*))
              SheetI



                                                 D STATESDISTRICTCoUNT
                           FOR                                Districtof                               PUERTORICO
        UNITED STATES OF                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                              v.                                       (For RevocationofProbationor Supervised
                                                                                                             Release)


         EDDIE VNLEZ.                                                  CaseNumber:                     gs-cR-r60
                                                                                                               (sEC)
    a/k/aEDDIEWILBERT
                                                                       USMNumber:                      08
                                                                       (*) ATPO.CARLOSV AZQUEZ-ALVAREZ
                                                                       Defendant'sAttomey
THE DEFENDAIIT:
X   admittedguilt to violation of               ) oNE(l)                                               of the term of supervision.

n   wasfoundin violationof condi                                                   afterdenialof guilt.
The defendantis adjudicatedguilty         theseviolations:

Violation Number                                                                                                     Violstion Ended
StandardConditionNo. I                      another federal crime.                                                       08/t0/04




      The defendantis sentenced providedin pages2 through                          of thisjudgment. The sentence
                                                                                                               is imposedpursuantto
the Sentencing
             ReformAct of 1984.
!   The defendanthas not violated                                               and is dischargedas to such violation(s) condition.


          It is ordered that the de       t must notifv the United States attomev for this district within 30 davs of any
changeofname, residence,or                  ldress gntfl
                                          adlreqs            fines, resulunon,
                                                   untll all llnes,              cost5,anc
                                                                    restitution, costs,     qpegr1rlassessmentsrmposeo
                                                                                        ?!4 speclal            ir4fosed.by this judgment
                                                                                                                        oy mrs  Juogn    are
tullylaid. If orilered to pay r'            the defendantmust irotify the cirurt arid Uniied Statesattomey of inateriaf changesin
econonuc cucumstances,

Defendant's
        Soc.Sec.No.:                                                   Anril5- 2006
                                                                       Dateof Irnpositionof Judgment
Defendant'sDateof Birth:

                                                                       S/ SalvadorE. Casellas
                                                                       Signatureof Judge
Defendant'sResidence
                   Address:



                                                                       SALVADOR E. CASELLAS,U.S. DISTRICTCOURT
                                                                       Name and Title of Judge



                                                                       Aoril 10.2006
Defendant'sMailing Address:
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AO 245D     (Rev. l2l03 Judgmentin a     Casefor Revocations
            Sheet2- Imprisonment

                                                                                            Judgment-Page _2_    ot   _L
DEFENDANT:                  EDDIE   LEZ-LOPEZ
CASENUMBER:                 95-CR-1 (08) (sEC)


                                                    IMPRISONMENT

        The defendantis herebv     ittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
total term of : TWENTY            (27) MONTIIS to be servedCONCURRENTLY to the sentenceimposed
in 04-CR-308(03)(JAG) for      District of Puerto Rico.



   !   The courtmakesthe fol              recornmendations
                                                        to theBureauof Prisons:




  X The defendantis                    to the custodyof the UnitedStatesMarshal

  !    The defendantshallsu              to the United StatesMarshalfor this district:
       ! a t                                E a.m.      fl     p.m.    on

       !     asnotifiedby the

  n    The defendantshall              for serviceofsentenceat the institutiondesignated
                                                                                       by the BureauofPrisons:

       n     before2 p.m. on

       tr    asnotified by the U

       I     as notified by the          or Pretrial ServicesOffice.


                                                             RETURN
I haveexecutedthisjudgmentas




       Defendant delivered on

                                             with a certified copy of this judgment.




                                                                                          UNITED STATESMARSHAL


                                                                      By
                                                                                       DEPUTYUNITED STATESMARSHAL
AO245D         (Rev.12103)Judgmentina     Casefor Revocations
                     Case 3:95-cr-00160-PG
               Sheet3 - SuoervisedRelease
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                                                                                                      Judgment-Page -3-         of -:[-
DEFENDANT:                   EDDIE
CASENUMBER:                  95-CR-1 (08)(sEC)
                                                      SUPERVISEDRELEASE
Upon releasefrom imprisonment,                                          releasefor a termof : TWO (2) YEARS.
                                           defendantshallbe on supervised


        The defendantmustreport theprobationoffice in the distict to which the defendantis releasedwithin 72 hoursof release
from the custodyof theBureaubf I
The defendant shall not commit              her federal, state or local crime.
The defendantshall not unla                 sessa contolled substance.The defendantshallrefrainfrom anyunlawfuluseof a controlled
substance. The defendant shall              to onedrugtestwithin 15 daysof releasefrom imprisonmentanil at leasttwo periodicdrug
teststhereafterasdeterminedbv the
I         The abovedrug testingconditi      is suspended,                               thatthe defendantposesa low risk of
                                                         basedon the court'sdetermination
          future substanceabuse. (          if applicable.)
X         The defendantshall not            a firearm, destructivedevice,or any other dangerousweapon. (Check"if applicable.)
tr        The defendantshall cooperate the collectionof DNA asdirectedby theprobationoffrcer. (Check,if applicable.)
tr        Thedefendantshallregisterw the state sex offender registration agency in the state where the defendant resides, works,
          or is a student,asdirectedby probation officer. (Check, if applicable.)

!         The defendantshallparticipa in an approved program for domestic violence. (Check, if applicable.)
                                                                                       releasethat the defendantpay in accordance
         If this iudement imposes a ine or restitution,it is be a conditionof supervised
with the Schedrile5f Paymeirtssher of thisjudgment.
             The defendantmust             with the standardconditionsthathavebeenadoptedby this court aswell aswith anyadditional
conditions on the attachedpage.

                                              DARD CONDITIONS OF SUPERVISION
     1 ) the defendantshall not leave       judicial districtwithoutthepermissionof the courtor probationofficer;
     2)    the defendantshall report to    probation officer and shall submit a truthful and complete written report within the first five days
           of each month:
     3)    the defendant shall answer            all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
     4)    the defendant shall support                    andmeetotherfamily responsibilities;
                                           or her dependents
     5)    thedefendantshallwork             at a lawfuloccupation,          by theprobationofficerfor schooling,taining, or other
                                                                 unlessexcused
           acceptable
                    reasons;
     6)    the defendant shall notify     probationofficer at leastten daysprior to any changein residenceor employment;
     7)    the defendant shall refrain      excessiveuse ofalcohol and shall not purchase.Dossess.use. distribute. or administer any
                             or anv
           confrolledsubstance              phemalia related to any controlled subitances,6icept as predcribedby i physician;
     8)    the defendant shall not                                        areillegally sold,used,distributed,or administered;
                                            placeswherecontolled substances
     e) the defendantshall not assoc        with any personsengagedin criminal activity and shall not associatewith any personconvicted
           ofa felony,unlessgranted         JSSTOntO dO SOby the probauon OIIlCer;
10) the defendantshall permit a       rbationofficer to visit him or her at any time at home or elsewhereand shall permit confiscation
           of anv contrabandr5bservec plain view of the probation officer;
I 1)       the defendantshall notify                                            of beingarrestedor questioned
                                                    officerwithin seventy-twohours                          by a law enforcement

12) thedefendantshallnot enteri             anyagreementto actasan informeror a special agentof a law enforcementagencywithoutthe
           permissionof the court;and
l3) as directed by the probation               . the defendantshall notifv third parties of risks that mav be occasionedbv the defendant's
                                               'or
                    recdrd or persc
           crrnunal record
           criminal           oersonal             characteristicsand shall pemiit the probation officef to make such notifications and to
           confirm the defendant' s              with suchnotification requirement.
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          Sheet3A - Supervised
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DEFENDANT:          EDDIE         LOPEZ
CASENUMBER:         95-CR-1 (08)(sEC)

                                  ONAL SUPERVISEDRELEASE TERMS

1. The defendantwill not           anotherfederal,stateor local crime and shall not possess
                                                                                          firearmsor
controlledsubstances and           with the standardconditionsof supervisedreleaseadoptedby this
Court.
2. The defendantshall            the U.S.ProbationOflicer accessto any financialinformationupon
request.
3. The defendantshall su      rit his person,residence,officeor vehicleto a search'conductedby a U.S.
Probation Officer at a        abletime and in a reasonablemanner,basedupon reasonablesuspicion
of contraband or evidence     a violation of condition of release;failure to submit to a searchmay be
groundsfor revocation;the       lndant shall warn any other residents that the premises may be subject
to searchespursuantto this      dition.
